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 1                                  UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF TEXAS
 2
                                         HOUSTON DIVISION
 3
                                                        §
 4
     OLIVER ESPARZA,                                    §
 5                                                      §     Civil Action No.:
                         Plaintiff,                     §
 6                                                      §
                         v.                             §
 7
                                                        §
 8   MEDICREDIT, INC.,                                  §     JURY TRIAL DEMANDED
                                                        §
 9                       Defendant.                     §
                                                        §
10

11                                             COMPLAINT
12           OLIVER ESPARZA (“Plaintiff”), by and through his attorneys, KIMMEL &
13
     SILVERMAN, P.C., allege the following against MEDICREDIT, INC. (“Defendant”):
14

15                                           INTRODUCTION

16
             1.      Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
17
     U.S.C. § 1692 et seq. (“FDCPA”), the Texas Debt Collections Practices Act, Tex. Fin. Code
18
     Ann. § 392.301 et seq. (“TFDCPA”), and the Telephone Consumer Protection Act, 47. U.S.C.
19
     Sec. 227, et seq. (“TCPA”).
20

21

22                                    JURISDICTION AND VENUE

23           2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), which states that
24
     such actions may be brought and heard before “any appropriate United States district court
25
     without regard to the amount in controversy,” and 28 U.S.C. § 1331, which grants this court
26

27
     original jurisdiction of all civil actions arising under the laws of the United States.

28           3.      Defendant conducts business in the State of Texas, and as such, personal

     jurisdiction is established.

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 1          4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 2

 3
                                                  PARTIES
 4

 5
            5.       Plaintiff is a natural person who resides in Beeville, Texas 78102.

 6          6.       Defendant is a national debt collection company with headquarters located at 3
 7   City Place Drive, Suite 6900, Saint Louis, Missouri, 63141.
 8
            7.       At all relevant times, Defendant acted as a “debt collector” within the meaning
 9
     of 15 U.S.C. § 1692(a)(6) and Tex. Fin. Code Ann. § 392.001(6); and, Defendant attempted to
10

11   collect a “debt” as defined by 15 U.S.C. §1692(a)(5) and Tex. Fin. Code Ann. § 392.001(2).

12          8.        Defendant acted through its agents, employees, officers, members, directors,
13
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
14

15
                                        FACTUAL ALLEGATIONS
16

17          9.      At all pertinent times hereto, Defendant was hired to collect a consumer debt

18   and attempted to collect that debt from Plaintiff.
19
            11.     Defendant collects, and attempts to collect, debts incurred, or alleged to have
20
     been incurred, for personal, family, or household purposes on behalf of creditors using the U.S.
21
     Mail, telephone and/or internet.
22

23          12.     The alleged debt arose out of transactions primarily for personal, family, or
24   household purposes.
25
            13.     Beginning in or around October 2015, Defendant began to place repeated
26
     harassing telephone calls to Plaintiff on his cellular telephone in its attempts to collect a Spohn
27

28
     Christus Hospital debt.




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 1           14.     Defendant’s calls originated from the numbers including, but not limited to;
 2
     (866) 316-9222. The undersigned has confirmed that this number belongs to Defendant.
 3
             15.     When contacting Plaintiff on his cellular telephone, Defendant would use an
 4

 5
     automatic telephone dialing system and automatic and/or pre-recorded messages.

 6           16.      Plaintiff knew Defendant was using an automatic telephone dialing system and
 7   automatic and/or pre-recorded messages as he received automated messages from Defendant.
 8
             17.     On the occasions in which Plaintiff spoke to one of Defendant’s representative
 9
     in December 2015, he requested that they cease telecommunication to his cellular telephone,
10

11   and instead, direct all communications to his mailing address.

12           18.     Defendant ignored Plaintiff’s request and continued to contact Plaintiff.
13
             19.     Once Defendant was aware that its calls were unwanted any further calls could
14
     only have been for the purpose of harassment.
15
             20.     Defendant’s telephone calls were not made for “emergency purposes” but rather
16

17   to collect a debt.

18           21.     Defendant’s actions as described herein were taken with the intent to harass,
19
     upset and coerce payment from Plaintiff.
20

21

22
                                        COUNT I
                          DEFENDANT VIOLATED § 1692d OF THE FDCPA
23
             22.     A debt collector violates § 1692d of the FDCPA by engaging n conduct the
24

25
     natural consequence of which is to harass, oppress, or abuse any person in connection with the

26   collection of a debt.
27           23.     Defendant violated § 1692d when it placed repeated harassing telephone calls to
28
     Plaintiff and continued to call after it knew the calls were unwanted.



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 1                                    COUNT II
                       DEFENDANT VIOLATED § 1692d(5) OF THE FDCPA
 2

 3          24.     A debt collector violates § 1692d(5) of the FDCPA by causing a telephone to

 4   ring or engaging any person in telephone conversation repeatedly or continuously with the
 5
     intent to annoy, abuse, or harass any person at the called number.
 6
            25.     Defendant violated § 1692d(5) of the FDCPA when it placed repeated harassing
 7

 8
     telephone calls to Plaintiff and continued to call after it knew the calls were unwanted.

 9

10
                                     COUNT III
11                   DEFENDANT VIOLATED § 392.302(4) OF THE TFDCPA

12          36.     A debt collector violates § 392.302(4) of the TFDCPA by causing a telephone to
13
     ring repeatedly or continuously, or making repeated or continuous telephone calls, with the
14
     intent to harass a person at the called number.
15
            37.     Defendant violated § 392.302(4) of the Texas FDCPA when it placed repeated
16

17   harassing telephone calls to Plaintiff and continued to call after it knew the calls were

18   unwanted.
19

20
                                         COUNT IV
21                              DEFENDANT VIOLATED THE TCPA
22
           38.      Section 227(b)(3)(A) of the TCPA authorizes a private cause of action for a
23
     person or entity to bring in an appropriate court of that state “an action based on a violation of
24

25
     this subsection or the regulations prescribed under this subsection to enjoin such violation.”

26         39.      Section 227(b)(3)(B), of the Act authorizes a private cause of action for a person
27   or entity to bring in an appropriate court of that state “an action to recover for actual monetary
28
     loss from such a violation, or to receive $500 in damages for each such violation, whichever is



                                                     4
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 1   greater.”
 2
           40.      Plaintiff did not give consent for Defendant to place telephone calls to his
 3
     cellular phone after December 2015.
 4

 5
           41.       Defendant ignored Plaintiff’s revocation and repeatedly placed non-emergency

 6   calls to Plaintiff’s telephone without Plaintiff’s consent.
 7         42.      The Act also authorizes the Court, in its discretion, to award up to three (3)
 8
     times the actual damages sustained for violations.
 9
           43.      Defendant called Plaintiff on his cellular telephone dozens of times beginning in
10

11   October 2015, and continuing through June 2016.

12         44.      Defendant’s conduct violated §227(b)(1)(A)(iii) of the TCPA by placing
13
     repeated calls using an automatic telephone dialing system and an artificial prerecorded voice
14
     to Plaintiff’s cellular telephone number.
15

16

17          WHEREFORE, Plaintiff, OLIVER ESPARZA, respectfully prays for a judgment as

18   follows:
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                    a.      All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);
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                    b.      Statutory damages of $1,000.00 for the violation of the FDCPA pursuant
21
                            to 15 U.S.C. § 1692k(a)(2)(A);
22

23                  c.      All attorneys’ fees, witness fees, court costs and other litigation costs
24                          incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3);
25
                    d.      All reasonable attorneys’ fees, witness fees, court costs and other
26
                            litigation costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3)
27

28
                            and Tex. Fin. Code § 392.403(b);

                    e.      Statutory damages of $500.00 for each violation of the TCPA, pursuant


                                                      5
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 1                     to 47 U.S.C. §227(c)(5)(B);
 2
                f.     Treble damages of $1,500.00 per violative telephone call pursuant to 47
 3
                       U.S.C. §227(b)(3);
 4

 5
                g.     Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and

 6              f.     Any other relief deemed appropriate by this Honorable Court.
 7

 8

 9
                                            RESPECTFULLY SUBMITTED,
10

11
     Dated: August 19, 2016                 KIMMEL & SILVERMAN, P.C.
12
                                            By: /s/ Amy Bennecoff Ginsburg
13
                                            Amy Bennecoff Ginsburg
14                                          30 East Butler Pike
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